                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MISSOURI
                                   EASTERN DIVISION

MISSOURI PRIMATE FOUNDATION,                 )
CONNIE BRAUN CASEY, individually,            )
ANDREW SAWYER, individually,                 )
and JANE DOE 2,                              )
                                             )
       Plaintiffs and Counterclaim           )
                       Defendants            )
                                             )
vs.                                          )       No. 4:16-cv-02163
                                             )
PEOPLE FOR THE ETHICAL                       )
TREATMENT OF ANIMALS, INC. and               )
ANGELA SCOTT a/k/a ANGELA                    )
G. CAGNASSO, individually,                   )
                                             )
       Defendants and Counterclaim           )
                      Plaintiffs.            )


  VERIFIED EMERGENCY MOTION OF PLAINTIFFS’/COUNTER-DEFENDANTS’
                     COUNSEL TO WITHDRAW

       COME NOW counsel for Plaintiffs/Counter-Defendants Kurtis Reeg and Lynn Lehnert

(hereinafter “Plaintiffs’ counsel”) and for their Verified Emergency Motion to Withdraw as

counsel, state as follows:

       1. On December 30, 2016, Plaintiffs’/Counterclaim Defendants’ counsel entered their

appearance and filed the above-referenced lawsuit.

       2. On October 7, 2017, Lead Attorney Kurtis B. Reeg experienced a medical event and

the sequela from that event has not completely resolved as of the present time.

       3. Mr. Reeg’s health care team has discussed with him his practice, current cases and

caseload, and directed Mr. Reeg in his best medical and health interests to modify his work

activity in certain respects and to withdraw from certain matters, including this specific
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representation (moving counsel can supply the Court written support from his health care team

regarding the assertions herein in camera if the Court wishes to review the same).

            4.   Rule 4 of the Missouri Rules of Professional Conduct, permits withdrawal of

representation under these circumstances, to wit:

                 “RULE 4-1.16: DECLINING OR TERMINATING REPRESENTATION

                 (a) Except as stated in Rule 4-1.16(c), a lawyer where representation has
                      commenced, shall withdraw from the representation of a client if:
                 …
                 (2) the lawyer's physical…condition materially impairs the lawyer's ability to
                      represent the client;
                 ….
                 (b) Except as stated in Rule 4-1.16(c), a lawyer may withdraw from representing a
                     client if:
                     …
                     (7) …good cause for withdrawal exists.”

            5. Plaintiffs’ counsel has given notice to their clients regarding their need to withdraw

and the reasons therefor (which can be produced in camera to the Court if the Court wishes to

review said notice).

            6. During the parties’ recent Rule 26 conference held on February 23, 2018, Plaintiffs’

counsel Kurtis B. Reeg advised opposing counsel of these facts, the grounds for this Motion and

the forthcoming filing of said Motion, and opposing counsel under the circumstances has no

objection to said Motion.

            7. This case is a Track 2 case and has not progressed to any significant degree in terms

of discovery or progression of the case, as counsel for the parties just held their initial Rule 26

meet and confer conference on February 23, 2018, and initial discovery is now just being served
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and/or answered. Accordingly, neither Plaintiffs/Counterclaim Defendants nor the remaining

parties will be prejudiced by the appearance of substitute counsel, and Mr. Reeg is making

recommendations to his clients regarding potential new counsel to take over the handling of this

case.

            8.   Because Plaintiffs’/Counterclaim Defendants’ co-counsel resides in the state of

Michigan, it is not practical for her to take over the handling of this particular representation.

            9. Lead Counsel Kurtis B. Reeg holds a Martindale-Hubbell A-V and Pre-Eminent

rating, has been practicing law in Missouri since 1979, has never been disciplined by this or any

Court, is listed on this Court’s list of Certified Neutrals, and has verified this Motion to

demonstrate to the Court, counsel and the parties the sincerity and accuracy of this Motion.

            10. Plaintiffs’ counsel respectfully asks that the Court grant said Verified Emergency

Motion instanter and give the party-Plaintiffs/Counterclaim Defendants at least forty-five (45)

days to retain new counsel.

            WHEREFORE, Plaintiffs’/Counterclaim Defendants’ counsel respectfully pray that this

Court grant the instant Motion instanter, allow them to withdraw, allow said Plaintiffs/Counter-

Defendants a reasonable amount of time (at least 45 days following the entry of an order granting

said Motion) to retain new counsel, and for such other and further relief as this Court deems just

and proper.




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                                            Respectfully submitted,

                                            GOLDBERG SEGALLA LLP


                                     By:      /s/ Kurtis B. Reeg
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                                            Attorneys for Plaintiffs/Counterclaim Defendants




                                     VERIFICATION

        COMES NOW Kurtis B. Reeg, counsel for Plaintiffs/Counterclaim Defendants, and
verifies under the penalty of perjury that the aforesaid Emergency Motion of Plaintiffs’/
Counterclaim Defendants’ Counsel to Withdraw, and the assertions therein, are made in good
faith and are true and correct.

                                            __/s/ Kurtis B. Reeg______



                               CERTIFICATE OF SERVICE

        I hereby certify that on February 26, 2018, I electronically served the foregoing through
filing it with the United States District Court – Eastern District of Missouri by using the
CM/ECF system.

                                            /s/ Kurtis B. Reeg




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